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     WALKUP, MELODIA, KELLY & SCHOENBERGER




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   Scott A. Powell (pro hac vice)                                    Ju




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   Bruce J. McKee (pro hac vice)
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 7 Jason Earley (pro hac vice)                                           N                               C
   Christopher S. Randolph, Jr. (pro hac vice)                               D IS T IC T          OF
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16 ATTORNEYS FOR PLAINTIFF
     MICHEL KECK
17

18                                   UNITED STATES DISTRICT COURT
19                                NORTHERN DISTRICT OF CALIFORNIA
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21 MICHEL KECK, on behalf of herself and                   Case No. 5:17-cv-05672-BLF
   others similarly situated,
22
                              Plaintiff,                   NOTICE OF DISMISSAL OF ALL
23                                                         REMAINING DEFENDANTS
           v.
24                                                         Judge:    Hon. Beth Labson Freeman
   ALIBABA.COM, INC., et al.,
25                                                         Trial Date: October 4, 2021
                              Defendants.
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                              NOTICE OF DISMISSAL - CASE NO. 5:17-cv-05672-BLF
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 1         Plaintiff Michel Keck, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, hereby dismisses, without prejudice, all claims against all remaining defendants in this

 3 action, none of whom have served an answer or a motion for summary judgment.

 4         The defendants being dismissed under this Notice of Dismissal are

 5   Art Village 2016

 6   Artgow Official Store

 7   Artryst Store

 8   ArtsStory of Accessories

 9   Best Art paintings Store

10   CFART Store

11   CHENFART

12   China Furniture Accessories Store

13   Da Fen Oil Painting Store

14   DD ART oil Painting Workshop

15   DIY-Market-Xuan

16   Ha’s World Wall Painting

17   Hand painted oil painting666 Store

18   Handpainted oil painting

19   Hangzhou Home Deco Arts & Crafts Co., Ltd.

20   Happy Family Paintings

21   HASYOU

22   Houseware Depot

23   Idea Art & Paintings Factory

24   KINGSTONEART

25   Maiyaca phone accessories Store

26   Modern Art Co., Ltd.
27   Moon Oil Painting Art Co., Ltd.

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 1   ShenZhen DXD Co., Ltd.

 2   Shenzhen Fine Art Co. Ltd.

 3   Shenzhen Shangmei Painting Craft Co., Ltd.

 4   Shenzhen Xinsichuang Arts & Crafts Co., Ltd.

 5   Shop1872602 Store a/k/a Candy Home Garden Store a/k/a CandyGuoDou Store

 6   Tan Art

 7   TOPERFECTART

 8   VANQUISH Store

 9   Xiamen Colourful Art & Craft Co.,ltd

10   Xiamen Dearchic Arts And Crafts Co., Ltd.

11   Xiamen Englant Trading Co. Ltd.

12   Xiamen Mei Yi Te Imports & Exports Trading Co., Ltd.

13   Xiamen Noah Art&Craft Co. Ltd.

14   Yiwu Decor Art Co., Ltd.

15   Yw-Art

16   Dafen Oushi Oil Painting

17   DPARTISAN Store

18   Folash painting art Store

19   Gen Di Micro spray art

20   Ha’s World Painting

21   HomeLivingWallArt Store

22   Mei Mei

23   Nan’an Yihui Painting & Arts Fty Co., Ltd.

24   Ou Li Da Oil Painting Art

25   Tonny’s Store Store

26   Wenddy’s Store
27   Xia Men Beautiful Art Oil Painting

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 1   Xia Men MYT Oil Painting

 2   YD Oil Painting a/k/a Yuan Dian Handpainted Painting Store, Yuan Dian Painting Art

 3   Yiwu KingSing Art & Crafts Co., Ltd.

 4   YW-meixiang Store

 5   YW-MX-Store

 6   [oLo Art Gallery] Wholesale Retail Oil Paintings

 7   Ali-Stars textile Store f/k/a CNLX factory Co., Ltd.

 8   AtFipan Art Decors Store f/k/a/ Modern Art Co., Ltd

 9   Bo Bo Art

10   China Arts Painting Ltd.

11   CSB HO ME GAR D ON Store

12   D-I-Y painting Factory Store

13   Dream World 1989

14   FineArt Store

15   Handpainted oil painting666 Store a/k/a Shop2342274 Store

16   Mai painting flagship store

17   Modern House Decoration Painting

18   MOONCRESIN Official Store f/k/a MOONCRESIN Factory Store

19   My House Painting Store, f/k/a Love Painting Store Co., Ltd.

20   NanYan Art Painting, a/k/a NanYa Electronic Commerce Co., Ltd. a/k/a Framed

21          Painting Store

22   OSM Oil Painting Store

23   Racheal Arts Store a/k/a RACHAEL ZHU’S STORE

24   Rachel Greens Store

25   Roy Fit Trading Co., Ltd.

26   Seventh Sense Store
27   Shenzhen No. 1 Technology Co. Ltd.

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 1   Shop1710687 Store f/k/a Home-Decor Market

 2   Wholasele oil oaitning shop Store

 3   Yiwu Art paingting Store

 4   Yiwu Honour Decor

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 7 Dated: March 30, 2020                     Respectfully submitted,
                                             HARE WYNN NEWELL & NEWTON, LLP
 8
                                         By: /s/ Jason Earley
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                                          One of the attorneys for Plaintiff Michel Keck
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                          NOTICE OF DISMISSAL - CASE NO. 5:17-cv-05672-BLF
